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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

In re:                                                        Case No.: 20-13368-LMI

Cynthia E. Ortiz,                                             Chapter 7

                Debtor.        /

                    NOTICE TO WITHDRAW DOCUMENT AT ECF #36

         The Debtor, by and through undersigned counsel, files this Notice to Withdraw Document

at ECF #36 and cancelation of hearing currently set for July 13, 2020 at 9:30A.M., 9:30 A.M.

         Respectfully submitted this 20th day of June 2020.

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